                                UNITED STATES DISTRlCT COURT
                                            for the
                             EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Herman King                                                        Docket No. 4:05-CR-111-lD

                               Petition for Action on Supervised Release

COMES NOW Melissa K. Lunsmann, U.S. Probation Officer of the court, presenting a petition for
modification of the Judgment and Commitment Order of Herman King, who, upon an earlier plea of guilty
to Possession with the Intent to Distribute More Than 50 Grams of Cocaine Base (Crack), in violation of
21 U.S.C . § 841(a)(I), was sentenced by the Honorable James C. Dever III, U.S. District Judge, on
September 15 , 2006, to the custody of the Bureau of Prisons for a term of204 months. It was further ordered
that upon release from imprisonment the defendant be placed on supervised release for a period of 5 years.
On April 2, 2020, pursuant to a motion under 18 U.S.C. § 3582(c)(l)(B), the defendant's sentence of
imprisonment was reduced to 14 7 months and the term of supervised release was reduced to 4 years.

    Herman King was released from custody on February 21 , 2020, at which time the term of supervised
release commenced.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

King is motivated to be highly successful during his term of supervised release and is committed to showing
the court that he is a prosocial and law-abiding individual. He ultimately hopes to gain access to a path to
el;\rly termination of supervision. Inasmuch as he has an extensive criminal history preventing him from
eligibility for the Low Intensity Supervision Program (LISP), it is recommended that he participate in Moral
Reconation Therapy through Coastal Horizons Center in Wilmington, North Carolina. Successful
completion of this program will increase King's likelihood of success on supervision, permit him future
access to the LISP, and increase his opportunity for early termination.

The defendant signed a Waiver of Hearing agreeing to the proposed modification of supervision.

PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows :

    I. The defendant shall participate in a cognitive behavioral program as directed by the probation office.

Except as herein modified, the judgment shall remain in full force and effect.

Reviewed and approved,                                I declare under penalty of perjury that the foregoing
                                                      is true and correct.


Isl David W. Leake                                    Isl Melissa K. Lunsmann
David W. Leake                                        Melissa K. Lunsmann
Supervising U.S. Probation Officer                    U.S. Probation Officer
                                                      200 Williamsburg Pkwy, Unit 2
                                                      Jacksonville, NC 28546-6762
                                                      Phone: (910) 346-5103
                                                      Executed On: November 6, 2020




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                                      ORDER OF THE COURT

Considered and ordered this       q      day of   No\llZM.b..o..A..   , 2020, and ordered filed and
made a part of the records in the above case.


Ja~C . Dever Ill
U.S . District Judge




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